Case 1:22-cr-00012-WJM Document 4-1 Filed 12/22/21 USDC Colorado Page 1 of 1




DEFENDANT:             LAWRENCE RUDOLPH

YOB:                   1955

ADDRESS (CITY/STATE): Paradise Valley, AZ

OFFENSE(S):            Count 1: Mail Fraud (18 U.S.C. § 1341)
                       Count 2: Foreign Murder 18 U.S.C. § 1119


LOCATION OF OFFENSE (COUNTY/STATE): Arapahoe/Colorado

PENALTY:       Count 1:NMT 20 years’ imprisonment; NMT $250,000 fine (or 2x the gain or loss,
               whichever is great), or both a fine and imprisonment; NMT 3 years’ supervised
               release; $100 special assessment.

               Count 2: NLT life imprisonment or death; NMT $250,000 fine or both; $100 Special
                     Assessment

AGENTS:                FBI SA Donald Peterson
                       FBI SA Scott Dahlstrom
                       Rocky Mountain Safe Streets Task Force Officer Shawna Gilbert

AUTHORIZED BY: Bryan David Fields
               Assistant U.S. Attorney

ESTIMATED TIME OF TRIAL:

       five days or less      X     over five days             other

THE GOVERNMENT

  X     will seek detention in this case             will not seek detention in this case

The statutory presumption of detention is or is not applicable to this defendant. (Circle one)

OCDETF CASE:                  Yes          X           No
